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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS



SUSAN SCHUTZ,

       Plaintiff,

v.
                                                  Civil Action No.
HARVARD PILGRIM HEALTHCARE,
INC.

       Defendant.




                                      COMPLAINT

       Plaintiff Susan Schutz (“Plaintiff”) files this Complaint (“Complaint”) against

Harvard Pilgrim Healthcare, Inc. (“Defendant”) and in support states the following:

                                       Introduction

       1.      Defendant employs Plaintiff as an Associate Utilization Review Nurse whose

primary job is to perform utilization reviews.

       2.      Prior to November 3, 2019, Defendant paid Plaintiff a salary.

       3.      Plaintiff regularly works over 40 hours per week.

       4.      Prior to November 3, 2019, Defendant classified Plaintiff as exempt from

state and federal overtime laws and did not pay her overtime for all overtime hours worked.
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       5.      Prior to November 3, 2019, Defendant classified Plaintiff as exempt from

state and federal overtime laws and did not pay her overtime for all hours worked over 40

hours in an individual workweek.

       6.      The utilization reviews performed by Plaintiff consists of reviewing health

insurance benefit requests submitted by health care providers against predetermined

guidelines and criteria for insurance coverage and payment purposes (“Utilization Review

Work”).

       7.      The Utilization Review Work performed by Plaintiff is non-exempt work.

       8.      Plaintiff brings this action due to Defendant’s misclassification of her

position in which she was not paid all earned overtime pay for time she worked in excess

of forty (40) hours in individual work weeks in violation of the Fair Labor Standards Act

(“FLSA”), 29 U.S.C. § 201, et seq.

       9.     Plaintiff also brings claims under Massachusetts state law under the

Massachusetts Minimum Fair Wage Law (“MAWL”), Mass. Gen. L. ch. 151, § 1A.

       10. Plaintiff brings her state law claims pursuant to Fed. R. Civ. P. 23(b)(3) and

23(c)(4) for Defendant’s failure to pay her for all earned overtime pay.

                                           The Parties

       11. Plaintiff has worked for Defendant as an Associate Utilization Review Nurse

in this Judicial District from May 2015 - present.

       12.    Defendant Harvard Pilgrim Healthcare, Inc. is a Massachusetts corporation.

       13.    Defendant’s principal place of business is in Wellesley, Massachusetts.
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                                       Jurisdiction and Venue

         14. This Court has subject matter jurisdiction under 28 U.S.C. § 1331 because

Plaintiff’s FLSA claims arise under federal law. See U.S.C. § 216(b).

        15.   This Court has supplemental jurisdiction over Plaintiff’s state law claims

under 28 U.S.C. § 1367(a) because they arise out of the same facts as her FLSA claims.

        16.   Venue is proper in this District under 28 U.S.C. § 1391 because the events

forming the basis of this suit occurred in this District.

                                         Factual Allegations

        17.   Defendant has established policies and procedures related to the utilization

review process to comply with National Committee on Quality Assurance’s (“NCQA”)

accreditation standards.

       18.    Plaintiff is an LPN and works as a Utilization Review Nurse for Defendant.

       19.    During her employment with Defendant, Plaintiff primarily performed

Utilization Review Work.

       20.    During her employment with Defendant, Plaintiff’s job duties were routine

and rote and did not include the exercise of discretion and judgment with respect to matters

of significance.

       21.    In performing her Utilization Review Work for Defendant, Plaintiff only has

the authority to approve health insurance benefit requests that meet matched

predetermined criteria.

       22.    Plaintiff does not have the authority to deny health insurance benefit requests

that did not match criteria for approval.
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       23.    Plaintiff’s job duties do not include engaging in bedside nursing or providing

medical advice to patients or other individuals with health issues.

       24.    Plaintiff’s job duties do not involve providing traditional nursing care to

patients or other individuals in a clinical setting or providing direct medical care to patients

or other individuals with health issues.

       25.    Plaintiff’s job duties do not involve making medical decisions in order to

select the appropriate medical care for patients or other individuals to treat their medical

issues or ailments.

       26.    During her employment, Plaintiff’s job duties do not include administering

patients’ medicine or treatments, operating or monitoring medical equipment, helping

perform diagnostic tests, diagnosing human responses to actual or potential health

problems, providing medical opinions on treatment and medication, or determining

whether an issue should be referred for an independent medical evaluation.

       27.    Defendant requires Plaintiff to work over 40 hours in one or more individual

workweeks during the last three (3) years.

       28.    Plaintiff has and continues to work over 40 hours in one or more individual

workweeks during the last three (3) years.

       29.    Plaintiff works approximately 45 to 50 hours per workweek.

       30.    In early November 2019, Defendant issued Plaintiff a letter stating upon

review of the duties of her position that effective November 3, 2019, she would be
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classified as a non-exempt employee and entitled to overtime pay for hours over forty in a

workweek.

       31.     Prior to November 3, 2019, Defendant classified Plaintiff as exempt from the

overtime provisions of the FLSA and MAWL.

       32.     Prior to November 3, 2019, Defendant paid Plaintiff a salary.

       33.     Prior to November 3, 2019, when Plaintiff worked over 40 hours in

individual workweeks, Defendant did not pay Plaintiff overtime at one-and-one-half times

her regular rate of pay for all overtime hours worked.

       34.     Defendant is an “enterprise” as defined by the FLSA in 29 U.S.C. § 203(r)(1).

       35.     Defendant is an enterprise engaged in commerce or in the production of

goods for commerce as defined by the FLSA in 29 U.S.C. § 203(s)(1)(A).

       36.     Defendant has made more than $500,000 in sales made or business done in

each of the last three calendar years.

       37.     Plaintiff is an “employee” of Defendant as defined by the FLSA in 29 U.S.C.

§ 203(e).

       38.     Plaintiff is an “employee” of Defendant as defined under the MAWL § 1A.

       39.     Defendant Harvard Pilgrim HC is Plaintiff’s “employer” as defined under

the FLSA in § 203(d).

       40.     Defendant is Plaintiff’s “employer” as defined by in 454 Mass Code Regs.

§ 27.02.

                                         COUNT I
                        Violation of the Fair Labor Standards Act
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      41.    Plaintiff incorporates here the previous allegations of this Complaint.

      42.    This count arises from Defendant’s violations of the FLSA by failing to pay

overtime to Plaintiff when she worked over 40 hours in individual workweeks.

      43.    Plaintiff was not exempt from the overtime provisions of the FLSA.

      44.    Plaintiff was directed by Defendant to work, and did work, over 40 hours in

one or more individual workweeks in the last three (3) years.

      45.    Defendant paid Plaintiff a salary and did not pay her overtime compensation

for all hours worked over 40 in an individual workweek.

      46.    Defendant violated the FLSA by failing to pay overtime to Plaintiff at one

and one-half times her regular rate of pay when she worked over 40 hours in one or more

individual workweeks.

      47.    Defendant’s failure to pay one-and-one-half times her regular rates for all

time worked over 40 hours in a workweek was willful.




                                  COUNT II
                          MAWL – Failure to Pay Overtime


      48.    Plaintiff incorporates here the previous allegations of this Complaint.

       49.   This count arises from Defendant’s violations of the MAWL by failing to

pay overtime to Plaintiff when she worked over 40 hours in individual workweeks.
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       50.    Defendant classified Plaintiff as exempt from the overtime provisions of the

MAWL.

       51.    Plaintiff was not exempt from the overtime provisions of the MAWL.

       52.    Plaintiff is regularly directed by Defendants to work, and did work, over

40 hours in individual workweeks.

       53.    Defendant violated the MAWL by failing to pay Plaintiff overtime at one and

one-half times her regular rates of pay she worked over 40 hours in individual workweeks.



      WHEREFORE, Plaintiff seeks a judgment against Defendant as follows:

      A.      All unpaid overtime wages due to Plaintiff;

      B.      Treble damages;

      C.      Reasonable attorneys’ fees and costs incurred in filing and prosecuting this

              lawsuit; and

      D.      Such other relief as the Court deems appropriate.

                                      Jury Demand

      Plaintiff demands a trial by jury.



                                                 Respectfully submitted,
                                                 Susan Schutz
                                                 By her attorney,


                                                 /s/ Corinne Hood Greene
                                                 Corinne Hood Greene (#654311)
                                                 Greene & Hafer, LLC
                                                 529 Main St. Ste 124
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